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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                      )
                                               )            8:05CR94
                    Plaintiff,                 )
                                               )
      vs.                                      )             ORDER
                                               )
JUAN GARCIA,                                   )
                                               )
                    Defendant.                 )




      This matter is before the court on the motion of John J. Velasquez to withdraw as
counsel for the defendant, Juan Garcia [111]. Since retained counsel, Stephanie A.
Martinez, has entered an appearance for the defendant [108], the motion to withdraw [111]
is granted. Mr. Velasquez shall be deemed withdrawn as attorney of record and shall
forthwith provide Ms. Martinez with the discovery materials provided the defendant by the
government and such other materials obtained by Mr. Velaquez which are material to the
defendant’s defense.


      IT IS SO ORDERED.
      DATED this 23rd day of December, 2005.


                                               BY THE COURT:


                                               s/ F.A. Gossett
                                               United States Magistrate Judge
